             Case 2:20-cv-01455-TL Document 52 Filed 09/13/22 Page 1 of 1




      UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE



    STANLEY PACE, an individual,                        JUDGMENT IN A CIVIL CASE

                            Plaintiff(s),               CASE NUMBER. 2:20-cv-01455-TL
        v.

    JOS DANIEL, an individual,

                            Defendant(s).




       Jury Verdict. This action came before the Court for a trial by jury. The issues have been
       tried and the jury has rendered its verdict.

       Decision by Court. This action came to consideration before the Court. The issues have
       been considered and a decision has been rendered.



THE COURT HAS ORDERED THAT

       Pursuant to the Court's Findings of Facts, Conclusions of Law, and Post-Trial

Declarations and Orders (Dkt. No. 51), judgment is hereby entered in favor of Plaintiff against

Defendant on all of Plaintiff's claims, and Defendant's counterclaims against Plaintiff are

dismissed with prejudice.

       Dated September 13, 2022.

                                               Ravi Subramanian
                                               Clerk of Court

                                               s/Kadya Peter
                                               Deputy Clerk
